                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

       v.                                                   24-000676-VEC

ALON ALEXANDER,
OREN ALEXANDER, and
TAL ALEXANDER,

       Defendants.

_________________________________/

                     NOTICE OF MOTION TO DISMISS COUNT 4 OF
                      THE SECOND SUPERSEDING INDICTMENT

       PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law, defendant

Oren Alexander, by and through counsel, will move this Court at the United States Courthouse, 500

Pearl Street, New York, N.Y., 10007 at a date and time to be determined by the Court, for an Order

Dismissing Count 4 of the Second Superseding Indictment pursuant to Fed. R. Crim. P. 12(b)(3)(B).

                                                    Respectfully submitted,

                                                    KLUGH WILSON LLC
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                                                    Miami, Florida 33128
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                                             BY: /s/ Richard C. Klugh
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                                                 Counsel for Oren Alexander
